               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                 :      1:17CR209-4
                                         :
              v.                         :
                                         :
DANYEL-ROY KIERAN                        :      MOTION TO REVOKE
LEMONS-KING                              :      PRETRIAL RELEASE


      NOW COMES the United States of America, by and through Sandra J.

Hairston, Acting United States Attorney for the Middle District of North

Carolina, and respectfully moves the Court, pursuant to Title 18, United States

Code, Section 3148(b), for revocation of pretrial release. In support of this

motion, the Government states that on July 2, 2017, Mr. Lemons-King

knowingly violated the conditions of his release by removing his monitoring

transmitter bracelet and left his residence without permission.              A

memorandum from U.S. Probation Officer Jennifer O’Konsky describing such

violation is attached and incorporated by reference herein.

      WHEREFORE, the United States respectfully requests the Court revoke

the defendant's present conditions of release and issue a bench warrant for the

defendant's arrest.




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This the 5th day of July, 2017.

                              Respectfully submitted,

                              SANDRA J. HAIRSTON
                              Acting United States Attorney



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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 5, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:

      James B. Norman, Esquire

      United States Probation Office



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